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                                      SUMMARY COVER ~F9EET OF FEE APPLICATION


Name of applicant                                                        Pachulski Stang Ziehl &Jones LLP

Name of client                                                           Quiksilver, Inc.

Time period covered by this application                                  Start              09/09/2015 End      12/31/2015

Total compensation sought this period                                                                          $134,903.00

Total expenses sought this period                        ~                                                       $4,084.09

Petition date                                                                                                   09/09/2015

Retention date                                                                                                  09/09/2015

Date of order approving employment                                                                              10/06/2015

Total compensation approved by interim order to date                                                                 $0.00

Total expenses approved by interim order to date                                                                     $0.00

Total allowed compensation paid to date                                                                              $0.00

Total allowed expenses paid to date                                                                                  $0.00

Blended rate in this application for all attorneys                                                                 $847.95

Blended rate in this application for all timekeepers                                                               $591.68
Compensation sought in this application already paid pursuant to a                                                   $0.00
monthly compensation order but not yet allowed
Expenses sought in this application already paid pursuant to a monthly                                               $0.00
compensation order but not yet allowed
Number of professionals included in this application                                                                    ~$
If applicable, number of professionals in this application not included in                                               ~
staffing plan approved by client
If applicable, difference between fees budgeted and compensation                                               ($15,097.00)
sought for this period
Number of professionals billing fewer than 15 hours to the case during                                                  12
this period
Are any rates higher than those approved or disclosed at retention? If ~;yeS                           (: no
yes, calculate and disclose the total compensation sought in this
application using the rates originally disclosed in the retention application




Case Name:                Quiksilver, Inc
Case Number:              15-11 S80(BL5}
Applicants Name:          Pachulski Stang Ziehl &Jones LLP
Date of Application       02/19/2016
Interim or final:         Interim


UST Form 11-330-E(2013)
